                                                                        Case 2:17-cr-00180-JAD-NJK          Document 405        Filed 07/30/18     Page 1 of 1


                                                                    1                                 UNITED STATES DISTRICT COURT
                                                                    2                                         DISTRICT OF NEVADA
                                                                    3     UNITED STATES OF AMERICA,                            CASE NO.: 2:17-cr-00180-JAD-PAL
                                                                    4                    Plaintiff,                            ORDER
                                                                    5              vs.
                                                                    6     CASEY WALTERS JR.
                                                                    7                    Defendant.
                                                                    8

                                                                    9              Based upon the unopposed motion of defendant, and for good cause, the Court grants
                                                                                                                                                               GRANTS
                                                                   10     defendant’s unopposed motion. It is hereby
                                                                                                        Docket    No.ORDERED   that Defendant
                                                                                                                      399. Defendant          shall contact
                                                                                                                                      shall contact         and obtain
                                                                                                                                                     and obtain  the
                                                                   11     approval of Pretrial Services prior to any travel outside of the boundaries of Jefferson County
                                                                   12     Texas.
                          1070 W. HORIZON RIDGE PKWY., SUITE 202
KATHLEEN BLISS LAW PLLC




                                                                   13     IT IS SO ORDERED.
                                HENDERSON, NEVADA 89012




                                                                   14     Dated this ____ day 2018.
                                                                                     July 30, of July, 2018
                                    TEL702.793.4202




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                                                                                                                       _____________________________________
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                                                                   17                                                  NANCYUNITED   STATES DISTRICT JUDGE
                                                                                                                              J. KOPPE
                                                                                                                       UNITED STATES MAGISTRATE JUDGE
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